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From: Harmer, Robbie <rob.harmer@thyssenkrupp.com>
Date: Tue, Oct 27, 2020, 5:35 PM

Subject: RE: ATLAS N.A. Man Overboard Patent Inquiry
To: William Johnson <johnsonlawcenter@gmail.com>

Dear Mr. Johnson,

Unfortunately | am not at liberty to share the information that your client requests. | understand

that your client may be curious, but ATLAS is not under any obligation whatsoever to share this

information with Ms. Smith—regardless of what Mr. Wilcox may or may not have said previously.
Thank you.

Kind regards

Rob Harmer

Head of Intellectual Property — North America
NA/TIS-IPS

T: +1 312 846-0289, rob.harmer@thyssenkrupp.com

thyssenkrupp North America, LLC, 111 W Jackson Blvd., Suite 2400, Chicago, IL 60604, USA,
www.thyssenkrupp-north-america.com

 

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